Case 3:20-mj-07134-MAB Document14 Filed 07/22/20 Page1lofi Page ID #23

RECEIVED

Service
IN THE UNITED STATES DISTRICT COURT _U-S- Marshals
FOR THE SOUTHERN DISTRICT OF ILLINOIS JUN 29 2020

Southern District of Iinois

UNITED STATES OF AMERICA, E. St Louts, IL

)
)
Plaintiff, )
) CRIMINAL NO. 20-mg-Hiz4{- MARK
Vs. )
)
PHILIP M. REIS, )
)
Defendant. )
)
WARRANT FOR ARREST

TO: The United States Marshal and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest PHILIP M. REIS, and bring him forthwith

to the nearest Magistrate Judge to answer a complaint charging him with Attempted Enticement

of A Minor, in violation of Title 18, United States Code, Sections 2422(b).

 

 

 

 

MARK A. BEATTY United States Magistrate Judge

Name of Issuing Officer Title of Issuing Officer
Me & R VO Egque VE, 2020
Signature of Issuing Of Date and Location:

 

 

(By) Deputy Clerk

Bail fixed at $ | by Aer A, {Zev tt ¥

Name of Judicial Officer

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